        Case 09-18062-LT7            Filed 12/11/09        Entered 12/11/09 17:32:18          Doc 14      Pg. 1 of 1
CSD 1241 [12/01/09]




                                                                                             December 11, 2009




          UNITED STATES BANKRUPTCY COURT
              SOUTHERN DISTRICT OF CALIFORNIA
   325 West "F" Street, San Diego, California 92101-6991

In Re

Sprinter Realty Group, Inc.
                                                                                BANKRUPTCY NO. 09-18062-T-7


                                                            Debtor.



                                 ORDER DISMISSING CASE WITHOUT PREJUDICE

         It appearing from the Court records for the above-entitled Chapter      7     case that the debtor(s) has failed to
 file or move for an extension of time to file the document(s) identified below and in the Court’s Notice of Missing
 Schedules(s), Chapter 13 Plan, and/or Related Documents within the time permitted.

              - Schedules and/or Statements




         Therefor and for good cause showing,
         IT IS HEREBY ORDERED AND ADJUDGED THAT:
         1.    The above-entitled case is dismissed without prejudice.
         2.    All related adversary proceedings which are pending are also dismissed subject to the provisions of
               Bankruptcy Local Rule 7041-3.
         3.    All stays now in effect for this case are vacated.



 DATED:       December 11, 2009
                                                                      Judge, United States Bankruptcy Court




DUE WITHIN 14 DAYS OF FILING
as governed by Fed. R. Bankr. P 1007(a)(5), (b) and (c),
3015(b), Interim Fed. R. Bankr. P. 1007(b)(1) and (3)
and/or General Order 162.
CSD 1241
